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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

DARYOUSH TAHA,                                      :
                                                    :
                              Plaintiff,            :
                                                    :       CIVIL ACTION NO. 12-6867
               v.                                   :
                                                    :       CLASS ACTION
BUCKS COUNTY, et al.,                               :
                                                    :
                              Defendants.           :



  RENEWED MOTION OF DEFENDANTS THE COUNTY OF BUCKS AND THE
BUCKS COUNTY CORRECTIONAL FACILITY FOR JUDGMENT AS A MATTER OF
                LAW OR MOTION FOR A NEW TRIAL

       Pursuant to Federal Rule of Civil Procedure 50(b), Defendants, the County of Bucks and

the Bucks County Correctional Facility (collectively, the “County”), by and through their

undersigned counsel, hereby submit this renewed motion for judgment as a matter of law. In the

alternative, the County moves for a new trial under Rule 59 on numerous grounds. In support of

these requests, the County relies on the accompanying brief and exhibits, which are filed

concurrently herewith.




                              [INTENTIONALLY LEFT BLANK]




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       WHEREFORE, the County respectfully requests that this Court grant its Motion, thereby

either directing the entry of judgment in favor of the County on Plaintiff’s claims or ordering a

new trial.

                                                      Respectfully submitted,


 Date: July 26, 2019                                  /s/ Frank A. Chernak
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                                                      and the Bucks County Correctional Facility




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